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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------X
 UNITED STATES OF AMERICA,

         -against-                                 MEMORANDUM AND ORDER

                                                   10-CR-627 (KAM)
 COURTNEY DUPREE, THOMAS FOLEY, AND
 RODNEY WATTS,

                     Defendants.
 -----------------------------------X

 MATSUMOTO, United States District Judge:

             Defendants Courtney Dupree (“Dupree”), Thomas Foley

 (“Foley”) and Rodney Watts (“Watts”) (together, “defendants”)

 are charged together in three counts, Watts is charged in four

 counts, and Dupree is charged in all five counts of a five-count

 superseding indictment.      (See ECF No. 155, Superseding

 Indictment (“Superseding Indictment”).)         Count One charges all

 defendants with Conspiracy to Commit Bank, Mail and Wire Fraud

 in violation of 18 U.S.C. §§ 1349, 3551 et seq.             (Id. at ¶¶ 17-

 18.)   Count Two charges all defendants with Bank Fraud in

 violation of 18 U.S.C. §§ 1344, 2, 3551 et seq.             (Id. at ¶¶ 19-

 20.)   Count Three charges defendants Dupree and Watts with

 making False Statements in violation of 18 U.S.C. §§ 1014, 2,

 3551 et seq.    (Id. at ¶¶ 21-22.)       Count Four charges all

 defendants with making False Statements by “knowingly and

 intentionally [making] a false statement and report, and

 willfully overvalu[ing] property and security, for the purpose

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 of influencing the action of Amalgamated Bank upon one or more

 loans. . .” in violation of 18 U.S.C. §§ 1014, 2, 3551 et seq.

 (Id. at ¶¶ 23-24.)     Count Five charges only defendant Dupree

 with an additional count of Bank Fraud, in violation of 18

 U.S.C. §§ 1344, 2, 3551 et seq. (Id. at ¶¶ 25-26.)

             The Superseding Indictment charges that defendant

 Dupree was the president and chief executive officer of GDC

 Acquisitions, LLC (“GDC”), and at different times relevant to

 the Superseding Indictment, defendant Foley was GDC’s outside

 counsel and its chief operating officer and defendant Watts was

 GDC’s chief financial officer and chief investment officer.

 (Id. at ¶¶ 2, 3, 4.)        The first four counts of the Superseding

 Indictment arise out of an alleged scheme to defraud Amalgamated

 Bank (“Amalgamated”), a financial institution, the deposits of

 which were insured by the Federal Deposit Insurance Corporation,

 and C3 Capital, LLC, a private equity investment firm, by

 obtaining, and attempting to obtain, loans for GDC and its

 subsidiaries on the basis of false financial statements and

 other material misrepresentations between January 2007 and July

 2010.   (Id. at ¶¶ 1, 8.)       Count Five was added in a Superseding

 Indictment filed on March 25, 2011, and charges only defendant

 Dupree with an additional count of bank fraud for “knowingly and

 intentionally execut[ing] and attempt[ing] to execute a scheme



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 and artifice to defraud Amalgamated Bank” between August 4, 2010

 and March 1, 2011.     (Id. at ¶¶ 25-26.)

             Pursuant to Fed. R. Crim. P. 17, on or about April 19,

 2011, defendant Foley applied ex parte for, and subsequently

 served, the following subpoenas on non-parties, The Kroger

 Company (“Kroger”), HSBC Bank USA (“HSBC”) and Universal Studios

 LLP (“Universal Studios”) (collectively, the “Foley subpoenas”).

 On Kroger:

             All records maintained with respect to the
             services rendered by Unalite Southwest, LLC;
             Unalite Electric & Lighting Corp.; Lighting
             Distribution & Maintenance, LLC d/b/a USW,
             relating to lighting installation,
             maintenance and energy-saving projects for
             the period May 1, 2010 through September 30,
             2010. Said records should include but not
             be limited to: (1) Contracts, purchase
             orders and agreements; (2) Invoices,
             billings and email requests for payment; (3)
             Back-up documents, including invoices,
             relating to Kroger checks annexed hereto as
             Exhibit “A.” (ECF No. 175, Subpoena Duces
             Tecum as to Kroger.)


 On HSBC:

             With respect to HSBC account no. 655763473
             in the name of Unalite Electric & Lighting
             LLC (a) all opening account documents,
             including but not limited to corporate
             resolutions, signature cards, and
             applications, (b) records relating to the
             non-payment of the check annexed hereto as
             Exhibit “A,” (c) bank statements and
             cancelled checks, and (d) records relating
             to any closing of the account. (ECF No.
             176, Subpoena Duces Tecum as to HSBC.)


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 On Universal Studios:

              All records maintained with respect to the
              services rendered by Unalite Electric &
              Lighting, LLC a/k/a Unalite Electrical &
              Lighting Corp., 47-07 32nd Place, Long
              Island City, NY for the NBC Warehouse, North
              Bergen, NJ and Rockefeller Center, New York
              City, NY relating to lighting installation,
              maintenance and energy-saving projects for
              the period May 1, 2010 through September 30,
              2010. Said records should include but not
              be limited to: (1) Contracts, purchase
              orders and agreements; (2) Invoices,
              billings and email requests for payment; (3)
              Back-up documents, including invoices and
              any reason for stopping payment for the
              check annexed hereto as Exhibit “A.” (ECF
              No. 177, Subpoena Duces Tecum as to
              Universal Studios.)

              Following service of the subpoenas, defendants Dupree

 and Watts moved, pursuant to Fed. R. Crim. P. 17(c)(2), to quash

 the subpoenas.     (ECF No. 196-1, [Dupree’s] Memorandum of Law in

 Support of Motion to Quash Subpoenas (“Dupree Mem.”); ECF No.

 202, Letter from Marion Bachrach, counsel for Watts, dated May

 12, 2011.)    In support of their motion to quash, Dupree and

 Watts assert that Foley did not have a proper purpose for

 requesting and serving the subpoenas.         Specifically, Dupree and

 Watts argue that: (1) Foley has already admitted to the court

 that the evidence likely to be introduced by the government

 regarding Count Five of the Superseding Indictment, the subject

 matter of the subpoenas, is “not only inadmissible against him

 but is also irrelevant to the charges against him” (ECF No. 196-


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 1, Dupree Mem. at 3); (2) Foley has made no showing that he is

 unable to obtain the documents by the exercise of due diligence

 (id.); (3) Foley cannot show that he would be unable to prepare

 for trial without the requested documents so that lack of access

 to such documents would unreasonably delay his defense (id.);

 and (4) Foley’s requests to Kroger, HSBC and Universal Studios

 were “not done in an effort to provide an actual defense for

 himself and thus [were] not requested in good faith . . . .

 [R]ather his efforts are a fishing expedition in an attempt to

 find evidence to direct culpability toward his codefendants in

 the mistaken belief that effort will demonstrate lack of

 culpability on his part” (id. at 3-4 (emphasis in original)).

             Foley opposes his co-defendants’ motion to quash the

 subpoenas, asserting that the court “properly ordered compliance

 with the subpoenas based upon a good faith, comprehensive

 presentation by Mr. Foley,” which included an application filed

 ex parte on April 20, 2011.       (ECF No. 204, Letter from Joseph W.

 Ryan, counsel for Foley, dated May 12, 2011.)           In response to

 Dupree’s and Watts’ motion and the court’s order to provide

 “support that the documents requested in the third party

 subpoenas are relevant to [Foley’s] defense of the charges in

 the counts in which he is charged in the Superseding Indictment”

 (Order dated May 13, 2011), Foley specifies that the “customer

 checks, bank records and invoices sought by the subpoenas are

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 relevant for Mr. Foley to establish a pattern of behavior by

 both Dupree and Watts to engage in criminal schemes to defraud

 Amalgamated Bank both before and after the July 23, 2010 arrests

 for bank fraud — without Mr. Foley’s knowledge or consent.”

 (ECF No. 211, Supplemental Response to Deny Motion to Quash

 (“Foley Supp.”) at 1.)

               For the reasons set forth below, the court grants in

 part and denies in part the motion to quash the subpoenas.1

                                     STANDARD

               Rule 17(c) of the Federal Rules of Criminal Procedure

 governs the issuance of subpoenas in criminal proceedings.                    Rule

 17(c)(1) provides:

               A subpoena may order the witness to produce
               any books, papers, documents, data, or other
               objects the subpoena designates. The court
               may direct the witness to produce the
               designated items in court before trial or
               before they are to be offered in evidence.
               When the items arrive, the court may permit
               the parties and their attorneys to inspect
               all or part of them.

 Rule 17(c) subpoenas are intended to “expedite the trial by

 providing a time and place before trial for the inspection of

 subpoenaed materials.”         United States v. Nixon, 418 U.S. 683,

 698-99 (1974) (citation and emphasis omitted).                  To meet the

 requirement for issuing a Rule 17(c) subpoena, the requesting

 party must demonstrate that the materials sought are (1)

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           The government takes no position regarding the motion to quash.

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 relevant; (2) admissible; and (3) specific.           Id. at 700.     Rule

 17(c) is not “a means of discovery in a criminal trial.”              Id. at

 698; see also United States v. Weissman, No. 01 Cr. 529, 2002

 U.S. Dist. LEXIS 24642, at *2 (S.D.N.Y. Dec. 24, 2002).

              Rule 17(c)(2) provides the standard for quashing a

 subpoena:

              On motion made promptly, the court may quash
              or modify the subpoena if compliance would
              be unreasonable or oppressive.

 “A party generally lacks standing to challenge a subpoena issued

 to a third party absent a claim of privilege or a proprietary

 interest in the subpoenaed material.”         United States v.

 Nachamie, 91 F. Supp. 2d 552, 558 (S.D.N.Y. 2000).

                                 DISCUSSION

              As an initial matter, the court finds dubious Dupree’s

 and Watts’ argument that they have standing to quash Foley’s

 subpoenas.    As discussed above, a party must generally have a

 claim of privilege or a proprietary interest in the subpoenaed

 materials in order to challenge a subpoena.           Nachamie, 91 F.

 Supp. 2d at 558.     Here, in response to the court’s order

 requesting further briefing on the issue of whether they have

 standing to move to quash the Foley subpoenas (Order dated May

 13, 2011), Dupree and Watts argue that they have “clear,

 legitimate interests in quashing the third-party subpoena

 requests” for two reasons: (1) “to ensure that Rule 17(c) is not

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 used for an improper purpose;” and (2) “to thwart the

 introduction of material that is intended to present uncharged

 crimes to the jury which are not admissible and would be unduly

 prejudicial to defendants [Dupree and Watts].”              (ECF No. 212,

 Letter from Roscoe C. Howard, Jr., counsel for Dupree, dated May

 17, 2011.)    The court is not entirely convinced that Dupree’s

 and Watts’ articulated “interests” constitute privilege or a

 proprietary interest in the subpoenaed materials sufficient to

 establish standing to quash the subpoenas, given that the

 subpoenaed documents relate to Unalite Southwest, a subsidiary

 of GDC, and that it is not clear if Dupree or Watts were

 officers of Unalite Southwest.       Nonetheless, the court will

 address the merits of the motion to quash to ensure that the

 subpoenas satisfy the requirements of Rule 17(c).              See United

 States v. Treacy, No. 08 Cr. 366, 2008 U.S. Dist. LEXIS 97206,

 at *3 n.2 (S.D.N.Y. Dec. 1, 2008) (“It is not clear that the

 government has standing to move to quash the subpoenas . . . .

 Nonetheless, the court will address the objections to ensure

 that the subpoenas are for a proper purpose and complies with

 the requirements of Rule 17(c).”).

              Accordingly, the court next considers whether the

 subpoenaed materials are relevant, admissible and specific, as

 required by the standard set forth by the Supreme Court.               Nixon,

 418 U.S. at 700.     With respect to relevance, as set forth above,

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 Foley is charged with Dupree and Watts in three counts in the

 Superseding Indictment.      Counts 1 and 2 charge Foley, together

 with his co-defendants, with one count of conspiracy to commit

 bank, mail and wire fraud between January 2007 and July 2010

 (Count 1), and one count of bank fraud (Count 2) against

 Amalgamated Bank.     (Superseding Indictment at ¶¶ 17-20.)

 Further, Count 4 charges that on May 24, 2010, Foley, Dupree and

 Watts “knowingly and intentionally made a false statement and

 report, and willfully overvalue[d] property and security, for

 the purpose of influencing the action of Amalgamated Bank upon

 one or more loans. . . .”      (Superseding Indictment at ¶ 24.)

             Although Foley is not charged in the Superseding

 Indictment with any criminal activity after July 2010, his

 subpoenas seek documents from Kroger and Universal Studios

 through September 30, 2010.       (ECF Nos. 175, 177.)        Further,

 Foley seeks documents from HSBC regarding an account in the name

 of Unalite Electric & Lighting, LLC, which Foley claims that

 Watts purportedly opened on October 6, 2010.           (ECF No. 204, Ex.

 A, Letter from Joseph W. Ryan, Jr., counsel for Foley, dated

 April 19, 2011, originally filed ex parte in support of the

 application for subpoenas duces tecum.)         The subpoenas,

 therefore, seek documents that are well outside the time frame

 of the counts with which Foley is charged in the Superseding



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 Indictment, and thus would not be relevant to his defense on

 those counts.2

             Moreover, even if the post-July 2010 documents were

 relevant as to Foley, which they are not, the court finds that

 any documents relating to transactions after July 2010 are

 inadmissible as to Foley.       The Supreme Court has made clear that

 documents obtained pursuant to a Rule 17(c) subpoena must be

 admissible at trial.        Nixon, 418 U.S. at 698.       Rule 17(c) is not

 a means of discovery in a criminal trial.           Id.; see also United

 States v. Cherry, 876 F. Supp. 547, 552-53 (S.D.N.Y. 1995)

 (citing United States v. Marchisio, 344 F.2d 653, 669 (2d Cir.

 1965)) (“In this respect, Rule 17(c) can be contrasted with the

 civil rules which permit the issuance of subpoenas to seek

 production of documents or other materials which, although not

 themselves admissible, could lead to admissible evidence.”).

             Pursuant to Federal Rule of Evidence 403, even

 relevant evidence “may be excluded if its probative value is

 substantially outweighed by the danger of unfair prejudice,

 confusion of the issues, or misleading the jury, or by

 considerations of undue delay, waste of time, or needless

 presentation of cumulative evidence.”          Fed. R. Evid. 403.        As

 the court understands Foley’s argument, the purportedly


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         The court reserves its ruling, pending briefing on any motions in
 limine, on whether documents dated prior to July 2010, which may be relevant,
 will be admissible at trial.

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 probative value of the subpoenaed evidence is that it “shows a

 pattern of clandestine criminal conduct” and is relevant to

 Foley’s purported defense that his co-defendants’ conduct under

 Count Five “arises out of the same modus operandi to defraud

 Amalgamated Bank under counts One–Four.”          (ECF No. 211, Foley

 Supp. at 1, 4.)    As discussed above, however, Foley is named

 only in Counts 1, 2, and 4, which charge a conspiracy and a bank

 fraud scheme that ended in July 2010, and a false statement that

 occurred in May 2010.       (Superseding Indictment at ¶¶ 17-20, 23-

 24.)   Not only is evidence after July 2010 irrelevant to Foley’s

 defense against these charges, the risk of prejudice and

 confusion associated with Foley’s introduction of documents that

 post-date the time frame of charges involving Foley in the

 Superseding Indictment is high.       Specifically, the jury is

 likely to be confused and make improper inferences if Foley

 moves to admit evidence that post-dates his charged conduct

 against his co-defendants.      Accordingly, documents dated after

 July 2010 are inadmissible as to Foley because the potential

 prejudice and confusion outweighs the probative value of the

 evidence.

             Finally, because the court finds that documents dated

 later than July 2010 are neither relevant nor admissible as to

 Foley, the court need not consider whether the subpoenas are

 sufficiently specific.      Accordingly, in light of the motion to

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 quash and Foley’s further clarifications in his initial, ex

 parte submissions, the court has reconsidered its initial “so

 ordering” of the subpoenas in their entirety.            Based upon

 Foley’s counsel’s representation that the relevant HSBC account

 was opened in October 2010, the subpoena to HSBC is quashed in

 its entirety.    The Kroger and Universal Studios subpoenas are

 quashed except to the extent they seek documents related to the

 period between May 1, 2010 and July 2010.



                                 CONCLUSION

            For the reasons set forth above, defendants Dupree’s

 and Watts’ motion to quash is granted in part and denied in

 part.   The subpoena to HSBC is quashed.         To the extent the

 subpoenas to Kroger and Universal Studios seek and have yielded

 documents and information dated later than July 2010, they are

 quashed.   If any such documents post-dating July 2010 have

 already been produced pursuant to the subpoenas, the original

 documents and any copies made shall be promptly returned to

 Kroger, HSBC, and Universal Studios.

 SO ORDERED.

 Dated: May 23, 2011
        Brooklyn, New York
                                          __________/s/_______
                                          KIYO A. MATSUMOTO
                                          United States District Judge
                                          Eastern District of New York


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